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  8
  9                              UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
 10
 11      Rafael Arroyo, Jr.,                       Case No. 2:18-cv-06338-PSG-GJS
 12                Plaintiff,
 13         v.
                                                   Plaintiff’s Case Statement
 14      A & G Interprises, LLC, a
         California Limited Liability
 15      Company;
         Carmen Rosas; and Does 1-10,
 16
                   Defendants.
 17
 18
 19           Pursuant to this Court’s “ADA Disability Access Litigation: Order

 20    Granting Application for Stay and Early Mediation,” filed September 11,

 21    2018, the plaintiff submits his Plaintiff’s Case Statement.

 22
 23    A.     Itemized List

 24           The specific conditions at the site that forms the basis of this lawsuit are

 25    the lack of van-accessible parking space, lack of level parking, inaccessible

 26    standard parking space, inaccessible transaction counter and path of travel at

 27    the Gardena Main Plaza Liquor (“Store”) located in Gardena, California.

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  1       1. Lack of van-accessible Parking Space:
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 19            Any business that provides parking spaces must provide accessible
 20               parking spaces. 1991 Standards § 4.1.2(5); 2010 Standards § 208.
 21               One in every eight of those accessible parking spaces but not less
 22               than one must be a “van” accessible parking space, i.e., having an
 23               eight foot access aisle. 1991 Standards § 4.1.2(5)(b). Under the
 24               2010 Standards, one in every six accessible parking spaces must be
 25               van accessible. 2010 Standards § 208.2.4.
 26            Here, the lack of a van parking space is a violation of the law.
 27            The included photo of the Facility depicts the above violation.
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  1       2. Lack of Level Parking:
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 17            Under the 1991 Standards, parking spaces and access aisles must be
 18               level with surface slopes not exceeding 1:50 (2%) in all directions.
 19               1991 Standards § 4.6.3. Under the 2010 Standards, access aisles
 20               shall be at the same level as the parking spaces they serve. Changes
 21               in level are not permitted. 2010 Standards 502.4. “Access aisle are
 22               required to be nearly level in all directions to provide a surface for
 23               wheelchair transfer to and from vehicles.” 2010 Standards § 502.4
 24               Advisory. No more than a 1:48 slope is permitted. 2010 Standards §
 25               502.4.
 26            Here, the failure to provide level parking is a violation of the law.
 27            The included photo of the Facility depicts the above violation.
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  1       3. Lack of accessible Parking Space:
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 16            Any business that provides parking spaces must provide accessible
 17               parking spaces. 1991 Standards § 4.1.2(5); 2010 Standards § 208.
 18               To qualify as a reserved handicap parking space, the space must be
 19               properly marked and designated. Under the ADA, the method, color
 20               of marking, and length of the parking space are to be addressed by
 21               state or local laws or regulations. See 36 C.F.R., Part 1191, §
 22               502.3.3. Under the California Building Code, to properly and
 23               effectively reserve a parking space for persons with disabilities, each
 24               parking space must be at least 216 inches in length. CBC § 11B-
 25               502.2. The access aisle must extend the full length of the parking
 26               spaces it serves. 2010 Standards § 502.3.2. Under the California
 27               Building Code, a sign must be posted in a conspicuous place at the
 28               entrance to the parking lot or immediately adjacent to each handicap



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  1               parking space, with lettering 1 inch in height, that clearly and
  2               conspicuously warn that unauthorized vehicles parking in the
  3               handicap parking spaces can be towed at the owner’s expense. CBC
  4               § 1129B.4. The surface of the access aisle must have a blue border.
  5               CBC § 1129B.3. The words “NO PARKING” in letters at least a foot
  6               high must be painted on the access aisle. Id.
  7            Here, there was no “NO PARKING” lettering in the access aisle, in
  8               violation of the ADA.
  9            The included photo of the Facility depicts the above violation.
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 11       4. Inaccessible Transaction Counter:
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 26            In areas used for transactions where counters have cash registers and
 27               are provided for sales or distribution of goods or services to the
 28               public, at least one of each type shall have a portion of the counter



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  1               which is at least 36 inches in length with a maximum height of 36
  2               inches above the floor. 1991 Standards § 7.2(1). Under the 2010
  3               Standards, where the approach to the sales or service counter is a
  4               parallel approach, such as in this case, there must be a portion of the
  5               sales counter that is no higher than 36 inches above the floor and 36
  6               inches in width and must extend the same depth as the rest of the
  7               sales or service counter top. 2010 Standards § 904.4 & 904.4.1.
  8            Here, no such accessible transaction counter has been provided in
  9               violation of the ADA.
 10            The included photo of the Facility depicts the above violation.
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 12       5. Inaccessible Path of Travel:
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 26            Shelves and display units allowing self-service by customers at stores
 27               must be located on an accessible route. 1991 Standards §
 28               4.1.3(12)(b). An accessible route must be at least 36 inches in width.



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  1               1991 Standards § 4.3.3.
  2            Here, the failure to provide accessible paths of travel in and
  3               throughout the merchandise aisles is a violation of the law.
  4            The included photo of the Facility depicts the above violation.
  5
  6           Note: As stated in the Complaint, given the obvious and blatant
  7    violations, the plaintiff has alleged, on information and belief, that there are
  8    other violations and barriers on the site that relate to his disability. Plaintiff
  9    intends to conduct a site inspection and amend the complaint, to provide
 10    proper notice regarding the scope of this lawsuit, once he conducts a site
 11    inspection. See Doran v. 7-Eleven Inc., (9th Cir. 2008) 524 F.3d 1034 (holding
 12    that once a plaintiff encounters one barrier at a site, he can sue to have all
 13    barriers that relate to his disability removed regardless of whether he
 14    personally encountered them). Thus, settlement must address this holistic
 15    remediation.
 16
 17    B.     Amount of Damages
 18           Under the Unruh Civil Rights Act and the California Disabled
 19    Persons Act, a plaintiff is entitled to two types of damages: (1) actual damages
 20    and (2) a penalty assessment. Cal. Civ. Code § 52(a); 54.3(a). “The statute
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       lists actual damages and statutory damages as two separate categories of
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       damages that a plaintiff may recover.” Botosan v. Paul McNally Realty, 216
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       F.3d 827, 835 (9th Cir. 2000). The penalty assessment can be “no less than
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       $4,000” under the Unruh Civil Rights Act (Cal. Civ. § 52(a)) and no less than
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       $1,000 under the California Disabled Persons Act (Cal. Civ. § 54.3(a)). Each
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       responsible party under the ADA is individually liable for the denial of rights.
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 28    Lentini v. California Center for the Arts, Escondido, 370 F.3d 837, 849-851



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  1    (9th Cir. 2004). While each construction code section that is violated is not
  2    separately compensable, each distinct service or facility Plaintiff is denied
  3    access is a separate offense. (CCP § 55.56(f)). Here, Plaintiff was denied equal
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       access to both the parking facilities as well as the ability to utilize the
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       transaction counters due to the failure to create and maintain accessible
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       features and seeks damages for each violation.
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              The Unruh Civil Rights Acts provides for minimum statutory penalties
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       of $4,000 plus actual damages for each offense against each responsible
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       entity. Thus, Plaintiff claims $4,000 in statutory penalties against the property
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       owner, A & G Interprises, LLC and $4,000 against the business owner,
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       Carmen Rosas, for a sum total of $8,000. If this matter proceeds beyond
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       mediation, Plaintiff will additionally be seeking damages for on-going
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       deterrence.
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       C.     Demand for Settlement of Case
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              First, to provide for van-accessible parking space, level parking,
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       accessible standard parking space, accessible transaction counter and path of
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       travel at the Store.
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              Second, enter into a court enforceable consent decree binding the
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       defendants to: (1) institute policies and procedures whereby they maintain the
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       property in a compliant state; (2) the defendants agree to obtain and deliver a
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       CASp report on the property to the plaintiff (with photos) within 30 days that
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       identifies all access barriers. Thereafter, the plaintiff will have 30 days to
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       comment on the report. If the plaintiff notes other barriers, the plaintiff can
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       make a demand that the defendants correct them. If the parties cannot
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       reasonably agree on barrier correction within 10 days following plaintiff’s
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       demand, the plaintiff has the right to file a new action or refile the action in
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       state or federal court.


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  1           Lastly, to settle this matter globally at mediation, that Defendants pay
  2    $8,000 in damages and submit to the court as to reasonable attorney’s fees
  3    and costs as provided by both the ADA and Unruh.
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  5
       Dated: September 25, 2018              CENTER FOR DISABILITY ACCESS
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  8                                            By: /s/ Dennis Price___________
                                              Dennis Price, Esq.
  9                                           Attorney for Plaintiff
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       Plaintiff’s Case Statement                             2:18-cv-06338-PSG-GJS
